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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN,
Plaintiffs,

VS.

ARNOLD SCHWARZENEGGER, et al.,
Defendants

No.: Civ S 90-0520 LKK-JFM

PLAINTIFFS’ NOTICE OF FILING
SEALED DOCUMENTS

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PLAINTIFFS’ NOTICE OF FILING SEALED DOCUMENTS, NO.: CIV S 90-0520 LKK-JEM

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To the defendants and their attorneys of record, PLEASE TAKE NOTICE, that
plaintiffs are filing the following documents under seal: (1) Plaintiffs’ Memorandum in
Support of Special Master’s Recommendation Regarding Staffing to Implement the Revised
Program Guide, (2) Declaration of Thomas Nolan in Support of Plaintiffs’ Memorandum in
Support of Special Master’s Recommendation Regarding Staffing to Implement the Revised
Program Guide, (3) Proposed Order Regarding Special Master’s June 21, 2006 Report on the
Status and Sufficiency of Defendants’ Budget Requests for Staffing. These documents are
being filed under seal pursuant to the District Court’s June 21, 2006 Order. A copy of the
Court’s June 21, 2006 Order is attached hereto. A copy of this Notice shall accompany the

hard copy of documents to be filed under seal.

Dated: July 10, 2006 Respectfully submitted,

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Thomas Nolan
Rosen, Bien & Asaro
Attorneys for Plaintiffs

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PLAINTIFFS’ NOTICE OF FILING SEALED DOCUMENTS, NO.: CIV S 90-0520 LKK-JFM

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
RALPH COLEMAN, et al.,

Plaintiffs, No. CIV S-90-0520 LKK JFM P
VS.
ARNOLD SCHWARZENEGGER, ORDER
et al.,
Defendants. /

In accordance with the court’s order issued on June 19, 2006, the Clerk of the Court is
directed to copy and forward by mail to plaintiffs’ counsel, Michael Bien, the Special Master’s
Report on the Status and Sufficiency of the Defendants’ Budget Requests for Staffing to
Implement the Revised Program Guide, as well as the attached exhibits. The Clerk of the Court
is also directed to forward the above-mentioned documents to Robert Sillen, the court-appointed

Receiver in Plata et al v. Schwarzenegger, Civ. S-01-1351 (N.D. Cal.) at:

Robert Sillen
c/o Judge Thelton E. Henderson
_ USS. District Court for
the Northern District of California
450 Golden Gate Ave
San Francisco, CA 94102

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In the report, the Special Master recommends that,

Defendants should be required to incorporate the mental health staffing proposals

included in the CDCR’s FY2006/07 BCP (Exhibit C) for implementing the Program

Guide revisions. Any workload study funded by the defendants ought to be required to

submit findings and recommendations sufficiently timely to be incorporated in the

FY2007/08 budge cycle.

Special Master’s Report at 10-11.

The parties are to file not later than fifteen (15) days from the effective date of this order,
a memorandum of points and authorities either in support of or in opposition to the Special
Master’s recommendation. The parties are also directed to address the question of whether the
California Department of Finance should be added as a named defendant in this action. Finally,
the parties are asked to brief the issue of whether the Special Master’s report and attached
exhibits should be unsealed.

The parties shall file their briefs under seal. The court will either take the matter under

submission or will order a hearing, if appropriate.

IT IS SO ORDERED.

DATED: June 21, 2006. Chere Ke Kel
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Lawrence K. Karlton
Senior Judge
United States District Court

